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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 STEVEN F. GARDNER, and                 )
 TAMMY L. GARDNER,                      )
                                        )
        Plaintiff,                      )
                                        )
 vs,                                    )      Case No. 17-cv-35-MJR-DGW
                                        )
 FIRST CLOVER LEAF BANK                 )
 Successor in Interest to First Federal )
 Savings and Loan Association of        )
 Edwardsville, and FIRST CLOVER         )
 LEAF FINANCIAL CORP., FIRST            )
 MID ILLINOIS BANCSHARES,               )
 INC., as Successor to First Clover     )
 Leaf Bank, FIRST MID-ILLINOIS          )
 BANK & TRUST, N.A. as Successor )
 to First Clover Leaf Bank,             )
                                        )
        Defendants.                     )

                   STIPULATION FOR VOLUNTARY DISMISSAL

       COMES NOW Plaintiffs, Steven F. Gardner and Tammy L. Gardner, and

 Defendants, First Cloverleaf Bank, First Clover Leaf Financial Corp., First Mid-

 Illinois Bancshares, Inc., and First Mid-Illinois Bank & Trust, N.A. and hereby

 notify the Court that the Parties have settled all matters between them in full. The

 Parties hereby stipulate to dismiss this action with each party to bear its own costs.



                                  Respectfully submitted,



                                  By:          s/ Thomas R. Ysursa
                                               Thomas R. Ysursa #6257701



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                                 By: __s/ David L. Antognoli (with consent)______
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                             CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2017, I electronically filed this
 document with the Clerk of the Court using the CM/ECF system which will send
 notification to parties of record

                                                 s/ Tonya Loehring




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